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 7                             UNITED STATES DISTRICT COURT
 8                            CENTRAL DISTRICT OF CALIFORNIA
 9
   TESSIBLE “SKYLER” FOSTER;                     Case No. 2:23-cv-07441-AB-PVC
10 MARIE SCOTT; and KRISTA
   BAUMBACH, individually and on                 [PROPOSED] ORDER GRANTING
11 behalf of all others similarly situated,      PLAINTIFFS’ UNOPPOSED MOTION
                                                 FOR PRELIMINARY APPROVAL OF
12              Plaintiffs,                      SETTLEMENT
13   v.
14   800-FLOWERS, INC.,
15              Defendant.
16
17         This matter came before the Court on Plaintiffs’ unopposed motion for

18 preliminary approval of a proposed class action settlement pursuant to Federal Rule of
19 Civil Procedure 23(e). Based on this Court’s review of the Parties’ Settlement
20 Agreement and Plaintiffs’ Unopposed Motion for Preliminary Approval of Settlement,
21 and all files and submissions,
22         NOW, THEREFORE, IT IS HEREBY ORDERED:

23 A.      Provisional Approval and Certification of the Settlement Class and
           Appointment of Class Counsel and Class Representatives
24
           1.     Unless otherwise defined herein, all capitalized terms in this Order shall
25
     have the meanings ascribed to them in the Settlement Agreement.
26
           2.     The Court has conducted a preliminary assessment of the fairness,
27
     reasonableness, and adequacy of the Settlement as set forth in the Settlement
28
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 1 Agreement. Based on this preliminary evaluation, the Court preliminarily finds that the
 2 proposed Settlement is fair, reasonable and adequate to warrant providing notice to the
 3 Settlement Class. The Court therefore grants Preliminary Approval of the Settlement.
 4         3.     Pursuant to Rules 23(a) and 23(b)(3) of the Federal Rules of Civil
 5 Procedure and for purposes of the Settlement only, the Court hereby provisionally
 6 certifies this action as a class action on behalf of the following Settlement Class:
 7                All Persons who purchased Celebrations Passport in
                  California on or after September 7, 2019, through May 31,
 8                2022, and who incurred at least one automatic renewal1
                  charge for Celebrations Passport that was not fully refunded.
 9
           4.     Pursuant to Federal Rule of Civil Procedure 23, the Court hereby finds
10
     that, for purposes of the Settlement, the Plaintiffs Tessible “Skyler” Foster, Marie
11
     Scott, and Krista Baumbach are members of the Settlement Class and that, for
12
     Settlement purposes only, they satisfy the requirement that they will adequately
13
     represent the interests of the Settlement Class Members. The Court hereby appoints
14
     Plaintiffs Tessible “Skyler” Foster, Marie Scott, and Krista Baumbach as class
15
     representatives of the Settlement Class.
16
           5.     Having considered the factors set forth in Federal Rule of Civil Procedure
17
     23(g)(1) and having reviewed the submissions of Plaintiffs’ counsel, the Court finds
18
     that the Plaintiffs’ counsel, Frank S. Hedin of Hedin LLP, will fairly and adequately
19
     represent the interests of the Settlement Class. Accordingly, the Court hereby appoints
20
     Frank S. Hedin of Hedin LLP as Class Counsel to represent the Settlement Class.
21
22
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24
     1
           As set forth in the Settlement Agreement, specifically excluded from the
25 Settlement Class are the following Persons: (a) 800-Flowers, Inc., the Released Persons
26 and their employees, officers, directors, agents, and representatives, and their
     immediate family members; (b) Class Counsel; (c) The Court, the Court’s immediate
27 family members, and Court staff; and (d) The mediator, Jill Sperber, Esq. of Judicate
28 West.
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 1 B.     The Final Approval Hearing
 2        1.    Pursuant to Federal Rule of Civil Procedure Rule 23(e), the Court will
 3 hold a Final Approval Hearing on January 31, 2025, at ________ a.m./p.m. to consider
 4 the fairness, reasonableness and adequacy of the Settlement and whether it should be
 5 finally approved by the Court, and to determine the reasonableness of Class Counsel’s
 6 requested Attorneys’ Fee Award and the class representatives’ requested Service
 7 Awards.
 8        2.    No later than January 17, 2024, which is fourteen (14) Days before the
 9 Final Approval Hearing, the Parties must file any papers in support of Final Approval
10 of the Settlement and respond to any written objections.

11 C.           Objecting to the Settlement.
12        1.    Any Settlement Class Member who intends to object to any aspect of the
13 Settlement, including a request for Attorneys’ Fee Award to Class Counsel, or Service
14 Awards to the class representatives, must do so on or before the Opt-Out and Objection
15 Date set forth below, in the manner and pursuant to the requirements set forth in the
16 Settlement Agreement and the Class Notice.
17        2.    Any responses by the Parties to timely-filed objections shall be included
18 in the Motion for Final Approval briefing.
19 D.           Requesting Exclusion from the Settlement Class
20        1.    Any member of the Settlement Class who wishes to exclude himself or
21 herself from the Settlement Class must submit an appropriate, timely request for
22 exclusion, postmarked or submitted electronically no later than the Opt-Out and
23 Objection Date in compliance with the provisions of the Settlement Agreement, or as
24 the Court may otherwise direct, to the Settlement Administrator at the address on the
25 Class Notice. Any Settlement Class Member who does not submit a timely, written
26 request for exclusion from the Settlement Class (i.e., becomes an Opt-Out) will be
27 bound by all proceedings, orders and judgments in the Litigation.
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 1        2.     Any Settlement Class Member who does not become an Opt-Out and who
 2 wishes to object to the fairness, reasonableness or adequacy of the Settlement or the
 3 requested Attorneys’ Fee Award or Service Awards must timely file with or mail to the
 4 Court, by no later than the Opt-Out and Objection Date, an objection which complies
 5 with the requirements set forth in Paragraph 116 of the Settlement Agreement and as
 6 set forth in the Class Notice.
 7 E.            Settlement Class Notice Program
 8        1.     Pursuant to the Settlement Agreement, Kroll Settlement Administration,
 9 LLC (“Kroll”) is hereby appointed as Settlement Administrator and shall be required
10 to perform all the duties of the Settlement Administrator as set forth in the Settlement

11 Agreement and this Order.
12        2.     The Court approves the Class Notices accompanying the Settlement
13 Agreement and directs the Settlement Administrator to disseminate the Class Notice in
14 accordance with the Settlement Class Notice Program.
15        3.     The Court finds that the Settlement Class Notice Program set forth in the
16 declaration of Andrea R. Dudinksy of Kroll: (i) is the best practicable notice; (ii) is
17 reasonably calculated, under the circumstances, to apprise the Settlement Class of the
18 pendency of the Action and of their right to object to or to exclude themselves from the
19 proposed Settlement; (iii) is reasonable and constitutes due, adequate and sufficient
20 notice to all Persons entitled to receive Class Notice; and (iv) meets all requirements
21 of applicable law.
22        4.     In addition to electronic means, the Settlement Administrator shall
23 establish a post office box in its name to be used for receiving requests for exclusion
24 and any other communications, and providing that only the Settlement Administrator,
25 Class Counsel, Defense Counsel, the Court, the Clerk of the Court and their designated
26 agents shall have access to this post office box, except as otherwise provided in the
27 Settlement Agreement.
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 1        5.     The Settlement Administrator is ordered to cause the Class Notice to be
 2 disseminated to Settlement Class members on or before thirty (30) Days from the date
 3 of this Order and shall constitute the “Notice Date” pursuant to the Settlement
 4 Agreement and for purposes of this Order.
 5        6.     The Settlement Administrator shall provide the Opt-Out List to Class
 6 Counsel and Defense Counsel no later than seven (7) Days after the Opt-Out and
 7 Objection Date and shall then file with the Court the Opt-Out List with an affidavit
 8 attesting to the completeness and accuracy thereof no later than seven (7) Days before
 9 the Final Approval Hearing.
10        7.     The Settlement Administrator shall also file proof of compliance with the
11 Settlement Class Notice Program no later than seven (7) Days before the Final
12 Approval Hearing.
13 F.            Miscellaneous Provisions
14        8.     Settlement Class Members are preliminarily enjoined, unless and until
15 they have timely and properly excluded themselves from the Settlement Class, from
16 (i) filing, commencing, prosecuting, intervening in or participating as plaintiff,
17 claimant, or class member in any other lawsuit or administrative, regulatory,
18 arbitration, or other proceeding in any jurisdiction based on, relating to, or arising out
19 of the claims and causes of action or the facts and circumstances giving rise to the
20 Action and/or the Released Claims; (ii) filing, commencing, participating in, or
21 prosecuting a lawsuit or administrative, regulatory, arbitration, or other proceeding as
22 a class action on behalf of any Settlement Class Member who has not timely excluded
23 themselves (including by seeking to amend a pending complaint to include class
24 allegations or seeking class certification in a pending action), based on, relating to, or
25 arising out of the claims and causes of action or the facts and circumstances giving rise
26 to the Action and/or the Released Claims; and (iii) attempting to effect opt-outs of a
27 class of individuals in any lawsuit or administrative, regulatory, arbitration, or other
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 1 proceeding based on, relating to, or arising out of the claims and causes of action or the
 2 facts and circumstances giving rise to the Action and/or the Released Claims. This is
 3 not intended to prevent members of the Settlement Class from participating in any
 4 action or investigation initiated by a state or federal agency.
 5          9.    Counsel are hereby authorized to use all reasonable procedures in
 6 connection with approval and administration of the Settlement that are not materially
 7 inconsistent with this Order or the Settlement Agreement, including making, without
 8 further approval of the Court, insubstantial changes to the form or content of the Class
 9 Notices and other exhibits that they jointly agree are reasonable and necessary. The
10 Court reserves the right to approve the Settlement Agreement with such modifications,

11 if any, as may be agreed to by the Parties without further notice to the Settlement Class
12 Members.
13          10.   Accordingly, the following are the deadlines by which certain events must
14 occur:
15
      10 Days after the filing of
16                                Deadline to serve Class Action Fairness Act
      Plaintiffs’  Motion     for
                                  Notice required by 28 U.S.C. § 1715
17    Preliminary Approval
18    30 Days after the date of the
      Order granting Preliminary Notice Date
19
      Approval
20
      35 Days before the Opt-Out Deadline to file motion for Attorneys’ Fees
21
      and Objection Date         Award and Service Awards
22
      60 days after the Notice Date Opt-Out and Objection Date
23
                                    Deadline for Settlement Administrator to provide
      7 Days after the Opt-Out and
24                                  the Opt-Out List to Class Counsel and Defense
      Objection Date
                                    Counsel
25
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 1                             Deadline     for     Parties    and  Settlement
                               Administrator to file the following:
 2
                                   (1) Opt-Out List;
      14 Days before the Final
 3                                 (2) Proof of CAFA Notice and Class Notice;
      Approval Hearing
                                       and
 4
                                   (3) Motion for Final Approval, including
 5                                     responses to any Objections
 6    90 Days after the Notice Date Final Approval Hearing
 7
 8 IT IS SO ORDERED.
 9
10 Dated: ______________________
                                       Hon. André Birotte, Jr.
11                                     United States District Judge
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